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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
                                                                   File No: 1:07-CR-285-02
v.
                                                                   HON. ROBERT J. JONKER
JUAN MANUEL ARIAS,

                  Defendant.
                                        /


                                    ORDER AND JUDGMENT
                           APPROVING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States Magistrate Judge

in this action (docket # 34), and the transcript of the plea hearing. The Report and Recommendation was

served on the parties, and no objection has been filed within the time required by law. Based on this Court’s

review of the record, IT IS ORDERED that:

         1.       The Report and Recommendation of the Magistrate Judge (docket # 34) is approved and

adopted as the Opinion and Findings of this Court.

         2.       Defendant Juan Manuel Arias's plea of guilty to the Indictment is accepted. Defendant Juan

Manuel Arias is adjudicated guilty and bond will be revoked at the time of reporting.

         3.       Defendant Juan Manuel Arias shall report to the United States Marshal in Grand Rapids,

Michigan, at 2:00 p.m., April 3, 2008. Defendant Juan Manuel Arias shall be detained pending sentencing,

based on the mandatory provisions of 18 U.S.C. § 3143(a).

         4.       A decision of whether to accept the written plea agreement will be made at the time of

sentencing after the Court has had the opportunity to review the Presentence Investigation Report. See

U.S.S.G. Ch. 6.




Dated:        April 1, 2008                       /s/ Robert J. Jonker
                                                  ROBERT J. JONKER
                                                  UNITED STATES DISTRICT JUDGE
